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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

NATHANIEL HOWELL,

       Plaintiff,
                                                JURY TRIAL DEMANDED
v.

LAZER SPOT, INC.,

       Defendant.


                        COMPLAINT FOR DAMAGES

      COMES NOW, Plaintiff, Nathaniel Howell (“Plaintiff”), by and through

undersigned counsel, and hereby files this Complaint for Damages against

Defendant, Lazer Spot, Inc. (“Defendant”) as follows:

                               INTRODUCTION

                                         1.

      During its employment of Plaintiff, Defendant violated the Fair Labor

Standards Act of 1938, as amended, 29 U.S.C. § 201 et seq. (the “FLSA”), by

misclassifying Plaintiff as an exempt employee and failing to pay Plaintiff overtime

compensation for hours worked in excess of 40 hours per week.

                                         2.




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      As a result of Defendant’s FLSA violations, Plaintiff initiates this suit to

recover unpaid regular wages, unpaid overtime compensation, liquidated damages,

attorneys’ fees, and costs.

                          JURISDICTION AND VENUE

                                           3.

      This Court has subject matter jurisdiction over the instant action pursuant to

29 U.S.C. § 216(b) and 28 U.S.C. §§ 1331 and 1367.

                                           4.

      Venue is proper in the U.S. District Court for the Northern District of Georgia,

Atlanta Division, under 28 U.S.C. § 1391(b)(1)-(2), and Defendant is subject to this

Court’s personal jurisdiction, because Defendant resides in this district and the acts

giving rise to Plaintiff’s Complaint occurred within this District.

                                     PARTIES

                                           5.

      Defendant Lazer Spot, Inc. (“Defendant”) is a corporation organized under

the laws of Georgia, with a principal office address of 6525 Shiloh Road, Suite 900,

Alpharetta, Georgia 30005. Defendant may be served through its registered agent,

Corporation Service Company, at 40 Technology Parkway South, Suite 300,

Norcross, Georgia 30092.

                                           6.

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       At all times material hereto, Defendant was an “employer” of Plaintiff for

purposes of the FLSA.

                                             7.

       Plaintiff, Nathaniel Howell is an individual and a Georgia resident. Plaintiff

worked for Defendant within the three-year period immediately preceding the filing

of this Complaint and was an “employee” of Defendant for purposes of the FLSA.

                                             8.

       At all times material hereto, Plaintiff handled, sold, and/or worked on goods

or materials that have been moved in or produced for commerce, and Plaintiff was

thus engaged in commerce during his employment with Defendant.

                                             9.

       At all times material hereto, Defendant had two or more employees who

handled, sold, or otherwise worked on goods or materials that had been moved in or

produced for commerce. Defendant’s annual gross volume of sales made or business

done was at least $500,000.00 during the last three years of Plaintiffs’ employment.

Thus, Defendant was an enterprise engaged in commerce or in the production of

goods for commerce as defined by § 203(s) of the FLSA.

                                           10.

       Plaintiff has satisfied all conditions precedent, if there be any, as to the claims

set forth, herein.

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                             FACTUAL ALLEGATIONS

                                             11.

        Plaintiff worked for Defendant as a “spotter driver” (also known as a “yard

jockey” or “yard hostler”) within the three-year period preceding the filing of this

Suit.

                                             12.

        As a spotter, Plaintiff worked at 1 or more distribution facilities. As a spotter

driver, Plaintiff used a specialized spotter truck to move (or “spot”) freight trailers

within property owned and/or controlled by one or more clients of Lazer Spot.

                                             13.

        Plaintiff never drove over public roadways or interstate highways, nor was

Plaintiff reasonably expected to make interstate deliveries, transports, or journeys of

any kind. Rather, Plaintiff performed all duties on private property at his assigned

distribution facility or facilities.

                                           14.

        In fact, Plaintiff did not have a Commercial Driver’s License (“CDL”).

                                           15.

        Plaintiff’s duties did not include the performance of safety-affecting activities

on any motor vehicles used in transportation on public highways in interstate

commerce. Any safety-affecting activities Plaintiff did perform had no substantial

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direct effect on the safety of operation of any motor vehicles and/or were so trivial,

casual, and insignificant as to be de minimis.

                                         16.

      At all relevant times, Plaintiff was a non-exempt employee for purposes of the

FLSA and was thus entitled to overtime compensation for all hours worked in excess

of 40 hours per week.

                                         17.

      Defendant misclassified Plaintiff as an exempt employee and paid Plaintiff

the same hourly rate regardless of the number of hours Plaintiff worked each week.

                                         18.

      During his employment with Defendant, Plaintiff routinely worked over 40

hours per week.

                                         19.

      Although Defendant was aware of the fact that Plaintiff regularly worked in

excess of 40 hours per week, Defendant failed to pay Plaintiff overtime

compensation during any week of his employment.

                                         20.

      Thus, Defendant knowingly suffered or permitted Plaintiff to work more than

40 hours per week without compensating Plaintiff at the required overtime rate.




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                                          21.

       By unjustifiably failing or refusing to pay Plaintiff overtime compensation for

all hours worked in excess of 40 hours in a workweek, Defendant willfully violated

the FLSA and/or recklessly disregarded its obligations under the FLSA.

                                          22.

       As a result of Defendant’s willful failure to pay Plaintiff overtime

compensation, Plaintiff has had to retain counsel to recover the unpaid wages due to

him.

                                          23.

       Defendant, its inside counsel and its outside counsel have litigated multiple

other cases involving the very same FLSA issues, including exemption issues, as

those presented in this case. Thus, Defendant is expert and knowledgeable in the

subject issues and knew and knows that it was obligated to pay Plaintiff at an

overtime rate (1.5 times Plaintiff’s regular rate of pay) for all hours Plaintiff worked

in excess of 40 hours in a workweek.

                                          24.

       The FLSA liquidated damages provision and the threat of having to pay

attorneys’ fees and costs Plaintiff must incur to collect the pay he has earned have

been inadequate to motivate Lazer Spot to pay Plaintiff, as required by law. The




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foregoing consequences have, in fact, been inadequate to convince Lazer Spot to

comply with the FLSA. More leverage is, apparently, required.

                                            25.

          By deliberately, intentionally, and maliciously misleading Plaintiff, as set

forth, above, Lazer Spot did, interfere with Plaintiff’s federally protected FLSA

rights.

      COUNT I: FLSA VIOLATION (OVERTIME COMPENSATION)

                                            26.

          Plaintiff realleges and incorporates Paragraphs 1 through 25 of this

Complaint, as if fully set forth herein.

                                            27.

          At all times relevant hereto, Plaintiff was a non-exempt employee entitled to

overtime compensation for purposes of the FLSA.

                                            28.

          During its employment of Plaintiff, Defendant paid Plaintiff straight time for

all hours recorded as worked, and Defendant failed to pay Plaintiff overtime

compensation for hours worked by Plaintiff in excess of 40 hours per week.

                                            29.

          By failing to pay Plaintiff overtime compensation in accordance with § 207

of the FLSA, despite knowledge of Plaintiff’s status as a non-exempt employee,

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Defendant willfully, intentionally, knowingly, and/or recklessly violated the FLSA,

in bad faith.

                                              30.

      As a result of Defendant’s willful violations of the FLSA’s overtime

provisions, Plaintiff is entitled to damages, including, without limitation, unpaid

overtime compensation, liquidated damages, attorneys’ fees, and costs pursuant to §

216 of the FLSA.

                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Nathaniel Howell prays:

      (a)       For a trial by jury of twelve on all counts so triable;

      (b)       For entry of a judgment in favor of Plaintiff and against Defendant for all

                damages and relief allowed by law, including but not limited to actual

                damages, punitive damages, liquidated damages, pre-judgment interest,

                and post-judgment interest;

      (c)       That the Court grant Plaintiff such other and further relief as deemed just

                and proper.

     Respectfully submitted this 22nd day of November, 2021.

                                                          COHAN LAW GROUP, LLC

                                                          /S/ Louis R. Cohan
                                                          LOUIS R. COHAN


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